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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


 DEMONTRAY HUNTER, by and through his next
 friend, Rena Hunter; RUSSELL D. SENN, by and
 through his next friend, Irene Senn; TRAVIS S.
 PARKS, by and through his next friend, Catherine
 Young; VANDARIUS S. DARNELL, by and
 through his next friend, Bambi Darnell; FRANK
 WHITE, JR., by and through his next friend, Linda
 White; MARCUS JACKSON, by and through his
 next friend Michael P. Hanle; TIMOTHY D.
 MOUNT, by and through his next friend, Dorothy
 Sullivan; HENRY P. MCGHEE, by and through his          CASE NO. 2:16-cv-00798-MHT-CSC
 next friend, Barbara Hardy, individually and on
 behalf of all others similarly situated; and the
 ALABAMA         DISABILITIES       ADVOCACY                   CLASS ACTION FOR
 PROGRAM,                                                      DECLARATORY AND
                                                               INJUNCTIVE RELIEF
       Plaintiffs,

 v.

 LYNN T. BESHEAR, in her official capacity as
 Commissioner of the Alabama Department of
 Mental Health,

       Defendant.


                 NOTICE OF SUBMISSION OF MONITORING REPORT

       The Alabama Disabilities Advocacy Program, as the monitor designated in the Consent

Decree entered in this action, ECF No. 94, hereby gives notice of its submission of the Monitoring

Reports for the November 1, 2020 – January 31, 2021 and February 1, 2021 – April 30, 2021

Monitoring Periods, on May 27, 2021. The Monitoring Reports in their entirety are only submitted

to the Defendant, and do not go to the Court; therefore, they are not attached to this Notice of

Submission.
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Dated: November 18, 2021
                             Respectfully submitted,

                             /s/Shandra N. Monterastelli
                             Shandra N. Monterastelli (ASB-1016-N00Q)
                             William Van Der Pol, Jr. (ASB-2112-114F)
                             Larry G. Canada (ASB-3153-N73L)
                             Lonnie J. Williams (ASB-2866-I35W)
                             ALABAMA DISABILTIES ADVOCACY PROGRAM

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                                    lwilliams@adap.ua.edu




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                                CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that I have caused a true and correct copy of the foregoing to
be served on the counsel of record listed below by filing same with the Clerk of Court via the
CM/ECF system this 18th day of November, 2021.

Shandra N. Monterastelli                        Thomas B. Klinner
Larry G. Canada                                 Edward C. Hixon
William Van Der Pol, Jr.                        Ashley L. Nichols
Lonnie J. Williams                              Nancy S. Jones
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                                                                    /s/Shandra N. Monterastelli
                                                     Shandra N. Monterastelli (ASB-1016-N00Q)
                                                        Alabama Disabilities Advocacy Program




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